Case 1:20-cv-00052-SPW Document 267-18 Filed 09/27/23 Page 1 of 8

From: Brett Jensen

To: Ryan Shaffer; Jessica Yuhas; Gerry.Fagan@moultonbellingham.com; Christopher Sweeney; Jon Wilson; Michael
Sarabia; Jordan.FitzGerald@moultonbellingham.com; lor fitay! :

Ce: Rob Stepans; Jared Brannan; carrie.nance@moultonbellingham.com; Barbara Bessey; Sylvia Basnett; Katy
Gannon; James Murnion; Matthew Merrill; Debbie Braaten

Subject: RE: Caekaert/Mapley & Rowland Schulze: Response to WTNY"s 7/27/2023 Ltr. re Rule 35 Exam

Date: Wednesday, August 9, 2023 8:12:04 AM

Thanks Ryan:

1am on the road today, but | will get your language over to Dr. Butz and confirm we are good to go
on that issue.

if the only issue we have left in the MOA is the cost of travel, what do you think about making a
carveout in the MOA? We can then submit that dispute to Judge Watters and she can make a ruling
as to that discrete issue? That way we can schedule Ms. Mapley’s exam last and hopefully have a
ruling in the next few months. | do not see any reason to hold up the 3 other exams while we get this
issue settled and potentially blow up the scheduling order again.

Here is my proposed language RE inadvertent disclosure:

As to attorney-client privilege, the parties have agreed Dr. Biitz will not ask any questions during the
subject mental examinations intended to elicit responses from Plaintiffs concerning privileged
communications with their counsel, law firm staff, or consultants. in the event of an inadvertent
disclosure of attorney-client privileged information within the meaning of Rule 502(b), Fed. R. Evid.,
Plaintiffs’ counsel shall follow the procedure set forth in subsection (3) and promptly meet and confer
with counsel for Defendants. In the event the parties cannot agree as to the proper
procedure/remedy, Plaintiffs shall promptly file a motion requesting the assistance of the Court.

| think this language is most appropriate because it follows the rule and does not require us to
speculate about how such a disclosure may occur. Let me know what you think.

Brett C. Jensen
Brown Law Firm, P.C.

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From: Ryan Shaffer <ryan@mss-lawfirm.com>

Sent: Tuesday, August 8, 2023 4:03 PM

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<debbie.braaten @moultonbellingham.com>

Subject: RE: Caekaert/Mapley & Rowland Schulze: Response to WTNY's 7/27/2023 Ltr. re Rule 35
Exam

Brett,

Regarding the release of the raw testing data, we are fine with the data only being released to Dr.

Bone so long as we have the following language included in the MOA:
Dr. Butz’s report shall include a data sheet that identifies the tests given, with a
corresponding score and T score/percentile rank for each such test. Furthermore, Defendants
and Dr. Butz acknowledge and agree that to the extent Dr. Butz relies on the raw testing data
for his opinions in this case, while such data is only being provided to Plaintiffs’ retained
expert Dr. Bone, Plaintiffs’ counsel and retained expert Dr. Trent Holmberg shail be permitted
to discuss and reference the raw testing data provided to Dr. Bone for the purpose of this
litigation.

Or something along these lines.

As to Dr. Butz’s travel costs to Australia, we really think that most reasonable solution is to conduct
her exam and testing remotely, as Plaintiffs’ experts did. We understand that the preference is for
in-person, and we are making that happen for 3 of our 4 clients at great expense to them. However,
the cost of doing so for Ms. Mapley under Dr. Butz’s proposed terms does not justify the marginal
benefit (if any) of the in-person exam for her. Thus, if Dr. Butz wants to insist on in-person exam in
Australia, when a virtual exam is certainly within the standard of care and routine in a post-covid
world, we think he needs to waive his professional fees for travel time. Again, if he is willing to do
50, we will have agreement on Ms. Mapley’s exam. If he is not, we will be asking the Court to order
that one exam taken remotely.

| am not sure where we stand on the other issues in the MOA, but | think we have sorted through
most of them. How about handling the inadvertent disclosure of attorney-client privileged
Case 1:20-cv-00052-SPW Document 267-18 Filed 09/27/23 Page 3 of 8

information?
Best,

Ryan

From: Brett Jensen <Blensen@brownfirm.com>

Sent: Monday, August 7, 2023 4:12 PM

To: Ryan Shaffer <rvan@mss-lawfirm.com>: Jessica Yuhas <jessica@mss-lawfirm.com>;
Gerry.Fagan@moultonbellingham.com; Christopher Sweeney
<Christopher.Sweeney@moultonbellingham. com>; Jon Wilson <jwilson@brownfirm.com>; Michael
Sarabia <MSarabia@brownfirm.com>; Jordan.FitzGerald@moultonbellingham.com; Joel Taylor
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<debbie. braaten@moultonbellingham.com>

Subject: RE: Caekaert/Mapley & Rowland Schulze: Response to WTNY's 7/27/2023 Ltr. re Rule 35
Exam

Hi Ryan:
| just heard back from Dr. Butz, and this is where things stand:

Regarding the release of raw testing data, Dr. BUtz will agree to release to Dr. Bone; however, Dr.
Holmberg has not demonstrated through the information provided that he has adequate training,
supervision, and experience conducting psychological assessments. | have Dr. Blitz’s supporting
information that | can provide you if you want. To keep things simple, can the MOA stipulate to the
release of raw testing data to Dr. Bone only for full resolution of this issue?

As for Dr. Blitz’s time in transit, | unfortunately do not have authority for further concession on the

issue of cost. As you read in Dr. Bitz’s July 47h letter, he has already limited his time in transit costs
to a full 8-hour day. Obviously the trip to Australia is going to involve much longer days.

Let me know if you’d like to chat further.
Sincerely,

Brett C. Jensen
Brown Law Firm, P.C.

315 North 24" Street

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Case 1:20-cv-00052-SPW Document 267-18 Filed 09/27/23 Page 4 of 8

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Sent: Tuesday, August 1, 2023 2:25 PM

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lawfirm.com>; Matthew Merrill <matthew@merrillwaterilaw.com>; Debbie Braaten

<debbie. braaten@moultonbellingham.com>

Subject: RE: Caekaert/Mapley & Rowland Schulze: Response to WTNY's 7/27/2023 Ltr. re Rule 35
Exam

Thanks Ryan. | am following up with Dr. Bitz about this. That seems like a sensible solution re the
raw testing data—lI just need to make sure he is good with it.

ve also had some continued discussions with WTNY about the business class upgrades and time in
transit. Can we resolve this issue if WTNY agrees to cover the upgrades, i.e. Plaintiffs cover the cost
of seats in economy and WTNY covers the upgrades, and in exchange Plaintiffs cover Dr. Blitz’s time
in transit? Like we discussed yesterday, the concession for Dr. Butz to fly halfway around the world
in lieu of Ms. Mapley completing litigation activities in the forum where she filed suit is already a
major concession. Dr. Bitz has thoroughly explained in his letters and provided supporting studies
showing why in-person assessments are necessary. | frankly don’t understand Plaintiffs’ distinction
between time in transit and travel costs. Both are additional costs directly related to Dr. Buitz’s
concession to travel for the examinations. Let me know if that would be a workable compromise.

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Case 1:20-cv-00052-SPW Document 267-18 Filed 09/27/23 Page 5 of 8

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From: Ryan Shaffer <ryan@mss-lawlirm.com>

Sent: Monday, July 31, 2023 1:51 PM

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<debbie.braaten@moultonbellingham.com>

Subject: RE: Caekaert/Mapley & Rowland Schulze: Response to WTNY's 7/27/2023 Ltr. re Rule 35
Exam

Brett,

Following up on our call, so long as Dr. Butz agrees to provide the raw test data to our experts (Bone
and Holmberg) we are good not requiring disclosure to Plaintiffs’ counsel.

Thanks,

Ryan R. Shaffer

Meyer Shaffer

fepans, PLLP

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Case 1:20-cv-00052-SPW Document 267-18 Filed 09/27/23 Page 6 of 8

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Subject: RE: Caekaert/Mapley & Rowland Schulze: Response to WITNY's 7/27/2023 Ltr. re Rule 35
Exam

Hi Ryan:

Thanks for your letter. Can you chat with us today at 2pm? | will send out instructions to our
conference line.

Brett C. Jensen
Brown Law Firm, P.C.

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Sent: Friday, July 28, 2023 2:52 PM

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Subject: Caekaert/Mapley & Rowland Schulze: Response to WTNY's 7/27/2023 Ltr. re Rule 35 Exam

Counsel,

Please see our attached response to your letter of July 27, 2023. This will follow via U.S.
Mail.

Thank you,

Jessica Yuhas
Paralegal

Meyer, Shaffer
& SI

epans, PLLP

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